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                                                               the Middle District of Pennsylvania, John E. Jones, III, J.,
                                                               2013 WL 3871637, granted employees' motion to dismiss
                  570 Fed.Appx. 129
                                                               for failure to state a claim, and prisoner appealed.
             This case was not selected for
         publication in the Federal Reporter.
Not for Publication in West's Federal Reporter.
 See Fed. Rule of Appellate Procedure 32.1 generally           Holdings: The Court of Appeals, Scirica, Circuit Judge,
     governing citation of judicial decisions issued           held that:
    on or after Jan. 1, 2007. See also Third Circuit
  LAR, App. I, IOP 5.7. (Find CTA3 App. I, IOP 5.7)            [1] due process claim against corrections employees
           United States Court of Appeals,                     accrued when prisoner arrived at prison and was labeled
                     Third Circuit.                            a sex offender;

              James CIBULA, Appellant                          [2] due process claim against parole board employees
                         v.                                    accrued when Board issued administrative action
  Charles FOX; Lloyd White; Michael Green; Jeffrey             requiring prisoner to participate in sex offender treatment
     R. Imboden; Catherine C. McVey, Benjamin                  to be eligible for parole;
  Martinez; Matthew Mangino; Juditch E. Viglione;
   John Tuttle; Kimberly A. Barkley; Cynthia Daub,             [3] continuing violations doctrine did not apply to due
     Individually and in their official capacity as            process claims; and
   members and Employees of the Commonwealth
                                                               [4] continuing violations doctrine did not apply to Eighth
   of Pennsylvania Board of Probation and Parole;
                                                               Amendment claim.
   Mr. Steinberg, Psychologist, SCI Mercer; Deputy
   Superintendent Ruffo; Deputy Superintendent
    Mahlmeister; Mary Jane Eckert, CC; Thomas                  Affirmed.
    Burkhart; Jeffrey Lee Hayden; Cynthia Reed;
    Stephen Laufer; Unit Manager Cole; James P.
  Oppman; Job Supervisor Kusiak; Reagan Roberts;                West Headnotes (5)
    Robert Smiley; James Oppman, Individually
    and in their Official Capacity as Employees of
                                                                [1]    Federal Courts
    the Pennsylvania Department of Corrections.
                                                                            Failure to mention or inadequacy of
                     No. 13–3565.                                      treatment of error in appellate briefs
                            |                                          In former state prisoner's § 1983 action against
           Submitted Pursuant to Third Circuit                         corrections and parole board employees,
               LAR 34.1(a) April 7, 2014.                              alleging violations of due process and
                            |                                          the Eighth Amendment based on his
              Opinion Filed: June 26, 2014.                            classification as a sex offender and alleged
                                                                       harassment resulting from such classification,
Synopsis
                                                                       prisoner waived the right to contest parole
Background: Former state prisoner brought § 1983 action
                                                                       board employees' absolute immunity for
against employees of the Pennsylvania Department of
                                                                       parole denials and dismissal of damages
Corrections and the Commonwealth of Pennsylvania
                                                                       claims against corrections employees based
Board of Probation and Parole, alleging they violated
                                                                       on Eleventh Amendment immunity, where
his procedural due process rights by classifying him as
                                                                       prisoner did not contest issues in his appellate
a sex offender without a hearing, violated the Eighth
                                                                       brief. U.S.C.A. Const.Amends. 8, 11, 14.
Amendment by subjecting him to abuse and harassment
based on his sex offender status, and collectively conspired           1 Cases that cite this headnote
to violate his constitutional rights. The District Court for



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[2]   Limitation of Actions                                    12 Cases that cite this headnote
          Civil rights
      Former state prisoner's § 1983 due process         [5]   Limitation of Actions
      claim against Pennsylvania Department of                     Matters Avoiding Bar of Statute
      Corrections employees accrued, triggering
                                                               Former state prisoner, who allegedly suffered
      Pennsylvania's two-year statute of limitations
                                                               abuse and harassment after corrections
      for personal injury claims, when he arrived
                                                               employees allegedly disclosed his sex offender
      at state correctional institution and was
                                                               status to guards and inmates, failed to plead
      summarily labeled a sex offender without
                                                               when the disclosure to other inmates and the
      receiving any opportunity to contest the
                                                               abuse and harassment allegedly occurred, as
      classification. U.S.C.A. Const.Amend. 14; 42
                                                               required to support application of continuing
      U.S.C.A. § 1983; 42 Pa.C.S.A. § 5524(7).
                                                               violations doctrine in order to toll two-year
      2 Cases that cite this headnote                          limitations period under Pennsylvania law for
                                                               prisoner's § 1983 claims under the Eighth
                                                               Amendment. U.S.C.A. Const.Amend. 8; 42
[3]   Limitation of Actions                                    U.S.C.A. § 1983; 42 Pa.C.S.A. § 5524(7).
          Civil rights
      Former state prisoner should have been                   5 Cases that cite this headnote
      aware that a due process violation
      occurred, triggering Pennsylvania's two-year
      statute of limitations for personal injury
      claims applicable to § 1983 claims, when           *131 On Appeal from the District Court for the Middle
      Pennsylvania Board of Probation and Parole        District of Pennsylvania, (D.C. Criminal No. 1–12–cv–
      issued administrative action, without holding     02065), District Judge: Honorable John E. Jones, III.
      a prior hearing, requiring prisoner to
      participate in sex offender treatment in          Attorneys and Law Firms
      order to be eligible for parole. U.S.C.A.
                                                        Richard R. Gan, Esq., Gan Law Group, Harrisburg, PA,
      Const.Amend. 14; 42 U.S.C.A. § 1983; 42
                                                        Ernest L. Jarrett, Esq., Detroit, MI, for Appellant.
      Pa.C.S.A. § 5524(7).
                                                        Alan M. Robinson, Esq., Pennsylvania Board of
      4 Cases that cite this headnote
                                                        Probation & Parole Executive Offices, Harrisburg, PA,
                                                        Laura J. Neal, Esq., Pennsylvania Department of
[4]   Limitation of Actions                             Corrections Office of Chief Counsel, Mechanicsburg, PA,
          Liabilities Created by Statute                for Charles Fox; Lloyd White; Michael Green; Jeffrey
      Pennsylvania Board of Probation and Parole's      R. Imboden; Catherine C. McVey, Benjamin Martinez;
      act of granting state prisoner parole within      Matthew Mangino; Juditch E. Viglione; John Tuttle;
      Pennsylvania's two-year limitations period        Kimberly A. Barkley; Cynthia Daub, Individually and
      applicable to § 1983 claims was not               in their official capacity as members and Employees of
      an unlawful action that could support             the Commonwealth of Pennsylvania Board of Probation
      application of continuing violations doctrine     and Parole; Mr. Steinberg, Psychologist, SCI Mercer;
      so as to toll limitations period for prisoner's   Deputy Superintendent Ruffo; Deputy Superintendent
      due process claims against Board employees,       Mahlmeister; Mary Jane Eckert, CC; Thomas Burkhart;
      based on the issuance of an administrative        Jeffrey Lee Hayden; Cynthia Reed; Stephen Laufer;
      action, without holding a prior hearing,          Unit Manager Cole; James P. Oppman; Job Supervisor
      requiring prisoner to participate in sex          Kusiak; Reagan Roberts; Robert Smiley; James Oppman,
      offender treatment in order to be eligible        Individually and in their Official Capacity as Employees
      for parole. U.S.C.A. Const.Amend. 14; 42          of the Pennsylvania Department of Corrections.
      U.S.C.A. § 1983; 42 Pa.C.S.A. § 5524(7).


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                                                               offender. 2 While he was serving his sentence, Cibula
Before: FISHER, SCIRICA, and COWEN, Circuit
                                                               alleges corrections officers disclosed his sex offender status
Judges.
                                                               to guards and inmates, which resulted in other inmates
                                                               abusing and harassing him.

              OPINION OF THE COURT                             2      Though not entirely clear from the record, the
SCIRICA, Circuit Judge.                                               confusion over Cibula's sex offender status appears
                                                                      to stem from the Commonwealth's withdrawal of
Plaintiff James Cibula brought an action under 42 U.S.C.              sex-related charges against him when he pled nolo
§ 1983 against several employees of the Pennsylvania                  contendere to the terroristic threat charges.
Department of Corrections and the Commonwealth of              He also contends his sex offender status impacted his
Pennsylvania Board of Probation and Parole. He alleges         parole applications. He petitioned for parole in July
defendants violated his procedural due process rights by       2008, but the Commonwealth of Pennsylvania Board of
classifying him as a sex offender without a prior hearing,     Probation and Parole denied his request because he had
violated the Eighth Amendment prohibition against cruel        not completed the sex offender treatment program. After
and unusual punishment by subjecting him to abuse              this parole denial, Cibula attempted to participate in
and harassment based on this improperly imposed sex            the program. But corrections employee Stephen Laufer
offender status, and collectively conspired to violate these   discharged him from the program because “[r]eview of
constitutional rights. He appeals the District Court's order   [his] record indicates all charges of sexual offending [were]
granting defendants' Rule 12(b)(6) motions to dismiss on       withdrawn by the state.” Cibula v. Fox, No. 1:12–cv–
the grounds that his claims were not filed within the two-     2065, 2013 WL 3871637, at *1 (M.D.Pa. July 25, 2013).
year statute of limitations for § 1983 claims arising in       Despite this discharge, the Parole Board again denied
Pennsylvania. We will *132 affirm. 1                           Cibula parole in August 2009 for failure to complete the
                                                               program.
1      The District Court had jurisdiction under 28 U.S.C. §
       1331. We have jurisdiction under 28 U.S.C. § 1291.      In addition to denying Cibula parole in August 2009,
                                                               the Parole Board issued an Administrative Action on
                                                               February 3, 2010, stating:
                              I.

Cibula's claims arise from his incarceration in a
                                                                           Based on the information provided
Pennsylvania state prison after pleading nolo contendere
                                                                           to the Parole Board, you have
to two counts of making terroristic threats in the
                                                                           not attended and participated in a
Northampton County Court of Common Pleas on
                                                                           Department of Corrections program
February 5, 2007. After successfully appealing his initial
                                                                           of counseling or therapy designed
sentence of five to ten years, he was resentenced to
                                                                           for incarcerated sex offenders as
consecutive terms of six months to five years on
                                                                           required by 42 Pa.C.S.A. Section
December 21, 2007. One week later, he was transferred
                                                                           9718.1(a). Pursuant to 42 Pa. C.S.A.
to State Correctional Institution Mercer (“Mercer”) from
                                                                           Section 9718.1(b), your offense
Northampton County Jail, where he had been imprisoned
                                                                           requires that you participate in
since February 6, 2006.
                                                                           sex offender treatment in order to
                                                                           be eligible for parole. Therefore,
Upon arriving at Mercer, officers of the Pennsylvania
                                                                           you will not be interviewed by the
Department of Corrections recommended that Cibula be
                                                                           Parole Board for parole/reparole
treated as a sex offender, which under 42 Pa. Cons.Stat.
                                                                           until notification is provided by the
Ann. § 9718.1 required him to participate in a sex
                                                                           Department of Corrections that you
offender treatment program. Cibula contends corrections
                                                                           have attended and participated in
officers made this determination without affording him
any opportunity to contest his designation as a sex



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            a Department of Corrections sex                    occurred over two years before Cibula filed his initial
            offender treatment program.                        complaint against the Parole Defendants on October 15,
                                                               2012, and his amended complaint against both the Parole
                                                               and Corrections Defendants on March 28, 2013.
Cibula, 2013 WL 3871637, at *2 (footnote omitted).
Cibula alleges the Parole Board, via this Administrative       3      The District Court addressed a number of other
Action, classified him as a sex offender without a prior              issues, but Cibula only appeals the dismissal on
hearing. Based on the Administrative Action, he did not               statute of limitations grounds. Cibula contends “[a]ll
apply for parole in 2010 and 2011.                                    other grounds asserted by the defendants [in support
                                                                      of their motion to dismiss] were either denied, or
Without a petition from Cibula, the Parole Board granted              not addressed by the court.” Appellant Br. 11. This
                                                                      is not entirely accurate. The District Court declined
him parole on May 11, 2011. He was released from
                                                                      to address some issues, found in Cibula's favor on
prison on *133 August 18, 2011. Approximately fifteen
                                                                      others, and decided two issues against Cibula. First,
months later, on October 15, 2012, Cibula brought a §
                                                                      the court held the Parole Defendants enjoyed absolute
1983 suit against several board members and employees of
                                                                      immunity for adjudicative decisions, like parole
the Parole Board (collectively, the “Parole Defendants”),             denials. Second, the court dismissed damage claims
alleging violations of his procedural and substantive                 against the Corrections Defendants for actions taken
due process rights and his Eighth Amendment right                     in their official capacities on Eleventh Amendment
to protection against cruel and unusual punishment.                   grounds. Cibula has waived the right to contest these
The District Court dismissed the complaint without                    issues on appeal because he did not raise them in
prejudice for failure to sufficiently allege that the Parole          his appellate brief. See United States v. Pelullo, 399
Defendants were responsible for the due process and                   F.3d 197, 222 (3d Cir.2005) (“It is well settled that
Eighth Amendment violations.                                          an appellant's failure to identify or argue an issue in
                                                                      his opening brief constitutes waiver of that issue on
                                                                      appeal.”).
On March 28, 2013, Cibula filed an amended complaint,
joining several corrections employees as defendants            The District Court also rejected Cibula's contention
(collectively, the “Corrections Defendants”), withdrawing      that even if his claims accrued over two years before
his substantive due process claim, and including               he filed suit, he can nonetheless bring them under
additional factual allegations supporting his procedural       the continuing violations doctrine. Under this doctrine,
due process and Eighth Amendment claims. He now                “when a defendant's conduct is part of a continuing
contends the Parole and Corrections Defendants violated        practice, an action is timely so long as the last
his procedural due process rights by classifying him           act evidencing the continuing practice falls within the
as a sex offender without a prior hearing, violated            limitations period.” Cowell v. Palmer Twp., 263 F.3d
the Eighth Amendment prohibition against cruel and             286, 292 (3d Cir.2001) (internal quotation marks and
unusual punishment by subjecting him to abuse and              citation omitted). The District Court held this doctrine
harassment based on his purported sex offender status,         did not apply because neither the Parole nor Corrections
and collectively conspired to violate these constitutional     Defendants took any actions during the limitations period
rights.                                                        that could be considered part of a continuing violation.
                                                               While the Corrections Defendants allegedly informed
 [1] The District Court dismissed the amended complaint        inmates of Cibula's status during the limitations *134
because Cibula's claims were not filed within the two-         period, the District Court concluded the abuse and
year statute of limitations for § 1983 claims arising in       harassment he suffered as a result of these disclosures to
Pennsylvania. 3 The District Court held the statutory          be “merely the consequences of the original act of deeming
period for his claims against the Corrections Defendants       [him] a sex offender in 2007.” Cibula, 2013 WL 3871637,
accrued upon his arrival at Mercer on December 28, 2007,       at *8. The District Court also found that the original act of
when he was classified as a sex offender without any form      labeling Cibula a sex offender upon his arrival at Mercer
of process. And the claims against the Parole Defendants       was “sufficiently permanent” to trigger his duty to assert
accrued when the Parole Board issued the Administrative        his due process rights. Id. Cibula timely appealed.
Action on February 3, 2010. Both of these incidents


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                                                                [2] It is apparent from the face of the amended complaint
                                                               that Cibula's procedural due process claims against both
                            II.
                                                               the Corrections and Parole Defendants are time barred, as
Cibula challenges the District Court's dismissal of his §      they accrued over two years before he filed suit on October
1983 claims as barred by Pennsylvania's two-year statute       15, 2012. His claim against the Corrections Defendants
of limitations. He argues that even if his claims did not      accrued on December 28, 2007 (nearly five years before
accrue within two years of filing suit, they are nonetheless   he filed his complaint), when he arrived at Mercer and
actionable under the continuing violations doctrine. We        was summarily labeled a sex offender without receiving
first address whether his claims were timely filed and then    any opportunity to contest the classification. Given that
whether the continuing violations doctrine applies.            Cibula received no process at al l, a reasonable person
                                                               would have known at this point that the Corrections
                                                               Defendants violated his procedural due process rights. 4
                            A.
                                                               4       Inmates have a liberty interest in not being labeled sex
We exercise plenary review over the District Court's                   offenders. Renchenski v. Williams, 622 F.3d 315, 326
dismissal of a claim under Rule 12(b)(6) for failure to                (3d Cir.2010). Thus, the government must provide
comply with the statute of limitations. In re Merck & Co.,             process before making such classifications. See id.
Inc. Sec., Derivative & “ERISA” Litig., 543 F.3d 150, 160              (“We agree that only after a prisoner has been
(3d Cir.2008). The statute of limitations is an affirmative            afforded due process may sex offender conditions be
defense, which may be raised in a Rule 12(b)(6) motion if              imposed on an inmate who has not been convicted of
                                                                       a sexual offense.”).
“the time alleged in the statement of a claim shows that the
cause of action has not been brought within the statute of      *135 [3] The accrual date of Cibula's procedural due
limitations.” Robinson v. Johnson, 313 F.3d 128, 135 (3d       process claim against the Parole Defendants also falls
Cir.2002) (quoting Hanna v. U.S. Veterans' Admin. Hosp.,       outside of the two-year statutory period. A reasonable
514 F.2d 1092, 1094 (3d Cir.1975)) (internal quotation         person would have been aware that a due process violation
marks omitted). “If the bar is not apparent on the face        occurred when the Parole Board issued the Administrative
of the complaint, then it may not afford the basis for         Action on February 3, 2010, over two-and-a-half years
a dismissal of the complaint under Rule 12(b)(6).” Id.         before Cibula filed suit. 5 Without holding a prior hearing,
(internal quotation marks and citation omitted).               the Parole Board stated:

For § 1983 claims, federal courts apply the statute            5       The accrual date could arguably have been even
of limitations governing personal injury actions in the
                                                                       earlier. When the Parole Defendants denied Cibula
state where the cause of action arose. Garvin v. City                  parole in July 2008 and August 2009 because he had
of Philadelphia, 354 F.3d 215, 220 (3d Cir.2003). In                   not completed the sex offender treatment program,
Pennsylvania, the statute of limitations for personal injury           a reasonable person may well have concluded the
claims is two years. Id. (citing 42 Pa. Cons.Stat. Ann. §              Parole Board was classifying him as a sex offender
5524(7) (West Supp.2003)). “Under federal law, a cause                 without any pre-classification process.
of action accrues, and the statute of limitations begins to
run, ‘when the plaintiff knew or should have known of              [Y]our offense requires that you participate in
the injury upon which its action is based.’ ” Kach v. Hose,        sex offender treatment in order to be eligible for
589 F.3d 626, 634 (3d Cir.2009) (quoting Sameric Corp.             parole. Therefore, you will not be interviewed ... for
v. City of Philadelphia, 142 F.3d 582, 599 (3d Cir.1998)).         parole/reparole until notification is provided by the
“The determination of the time at which a claim accrues is         Department of Corrections that you have attended and
an objective inquiry; we ask not what the plaintiff actually       participated in a ... sex offender treatment program.
knew but what a reasonable person should have known.”              Cibula, 2013 WL 3871637, at *2. Based on this
Id. (citing Barren v. United States, 839 F.2d 987, 990 (3d         agency action, a reasonable person would have
Cir.1988)).                                                        concluded that the Parole Defendants labeled Cibula
                                                                   a sex offender without providing any pre-classification




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   process. Accordingly, his due process claim against the     continuing violations doctrine is on affirmative acts of the
   Parole Defendants is time barred.                           defendants.”). 8
Cibula's Eighth Amendment claim against the Corrections
Defendants also accrued more than two years before he          7      Cowell included a third factor—whether the
filed suit. He contends the Eighth Amendment violation
                                                                      violations had a degree of permanence that would
resulted when the Corrections Defendants disclosed his
                                                                      have triggered the plaintiff's awareness of the duty to
sex offender status to guards and inmates, which led to               assert his or her rights. Cowell, 263 F.3d at 292. But
abuse and harassment by other inmates. But both Cibula's              we limited Cowell 's test for determining whether a
amended complaint and his appellate brief fail to provide             continuing violation exists by eliminating the degree
specific facts regarding such disclosures and the resulting           of permanence factor in light of National Railroad
abuse and harassment, including the specific times when               Passenger Corp. v. Morgan, 536 U.S. 101, 122 S.Ct.
they occurred. 6 Moreover, on appeal Cibula does not                  2061, 153 L.Ed.2d 106 (2002). See Mandel, 706 F.3d
                                                                      at 165–67.
appear to advance any argument that the Corrections
Defendants violated his Eighth Amendment rights within         8      Although Mandel did away with Cowell 's degree
the two-year statute of limitations, relying instead on               of permanence factor, it did not eliminate Cowell
the continuing violations doctrine, an equitable exception            's requirement of an affirmative act within the
to the statutory period. Accordingly, Cibula's Eighth                 limitations period for application of the continuing
Amendment claim against the Corrections Defendants is                 violations doctrine. Accordingly, although Cibula is
also time barred.                                                     correct that the District Court erred by relying in
                                                                      part on the degree of permanence factor in refusing
6                                                                     to apply the continuing violations doctrine, we may
       Cibula's allegation that he suffered abuse and
                                                                      nevertheless affirm because the court also relied
       harassment until his August 18, 2011, release from
                                                                      on Cibula's failure to adequately allege defendants
       prison is insufficient to demonstrate that these acts
                                                                      committed an affirmative act within the limitations
       occurred within the statute of limitations because he
                                                                      period. See Cowell, 263 F.3d at 292; see also Christ the
       fails to plead any facts concerning these acts.
                                                                      King Manor v. Sec'y U.S. Dep't of Health & Human
                                                                      Servs., 730 F.3d 291, 321 (3d Cir.2013) (noting we
                                                                      may affirm on any basis supported by the record).
                             B.
                                                               For example, in Cowell, plaintiffs brought a substantive
Cibula argues that even if his claims accrued over two         due process claim challenging the validity of liens fixed on
years before he filed suit, these claims are actionable        their property. Id. They filed their claim after the statute
under the continuing violations doctrine. Under this           of limitations had expired, but contended the existence
doctrine, a plaintiff can sue for actions that occurred        of the allegedly illegal liens was an affirmative act that
outside the applicable limitations period if “a defendant's    constituted a continuing violation of their due process
conduct is part of a continuing practice [and] ... the last    rights. Id. We disagreed, holding the “mere existence of
act evidencing the continuing practice falls within the        the liens does not amount to a continuing violation”
limitations period.” Cowell, 263 F.3d at 292 (internal         and “the Township's refusal to remove the lien [is not]
quotation marks and citation omitted). But Cibula has          an affirmative act of a continuing violation.” Id. We
failed to establish the doctrine applies here.                 distinguished between “continual unlawful acts,” which
                                                               can serve as the basis of a continuing violation, and
To determine whether a practice was continual, we              “continual ill effects from an original violation,” which
consider (1) whether the violations are part of the same       cannot. Id. (quoting Ocean Acres Ltd. v. Dare Cnty. Bd. of
subject matter and (2) whether the violations occurred         Health, 707 F.2d 103, 106 (4th Cir.1983)).
frequently. See *136 Mandel v. M & Q Packaging Corp.,
706 F.3d 157, 165–67 (3d Cir.2013). 7 A plaintiff must          [4] [5] As in Cowell, neither the Parole nor Corrections
also point to an affirmative act that took place within the    Defendants took any affirmative actions during the
limitations period for the continuing violations doctrine      two-year period before Cibula filed suit that could
to apply. See Cowell, 263 F.3d at 293 (“The focus of the       be construed as part of a continuing violation of his
                                                               procedural due process or Eighth Amendment rights. The
                                                               Parole Defendants granted him parole during that time,


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but that is not an unlawful action furthering Cibula's             of the original act of deeming [him] a sex offender in
                                                                   2007.” See Cibula, 2013 WL 3871637, at *8; see also
constitutional claims. Cibula argues the Corrections
                                                                   Cowell, 263 F.3d at 293 (noting that “continual ill effects
Defendants' disclosure of his status as a sex offender
                                                                   from an original violation”—unlike “continual unlawful
during this time qualifies as an unlawful act because
                                                                   acts”—cannot serve as the basis of a continuing violation).
it led to abuse and harassment by other inmates. But
                                                                   Accordingly, the continuing *137 violations doctrine
Cibula failed to plead when the disclosure to other inmates
                                                                   does not apply to Cibula's claims.
and the abuse and harassment occurred, so we cannot
determine whether any of these acts happened within the
statute of limitations. See id. at 292 (“In order to benefit
from the [continuing violations] doctrine, a plaintiff must                                      III.
establish that the defendant's conduct is ‘more than the
occurrence of isolated or sporadic acts.’ ” (quoting West          For the foregoing reasons, we will affirm the District
v. Phila. Elec. Co., 45 F.3d 744, 755 (3d Cir.1995))).             Court's order dismissing Cibula's complaint.


Even assuming disclosure occurred within the limitations
                                                                   All Citations
period, we agree with the District Court that the abuse and
harassment Cibula allegedly suffered as a result of these          570 Fed.Appx. 129
disclosures is best viewed as “merely the consequences

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                                                                court to dismiss a claim on the basis of a dispositive issue
                  2017 WL 1738450                               of law.” 2 This is true of any claim, “without regard to
   Only the Westlaw citation is currently available.            whether it is based on an outlandish legal theory or on a
   United States District Court, M.D. Pennsylvania.             close but ultimately unavailing one.” 3

               Michelle SHUTT, Plaintiff,                       1      In re Hydrogen Peroxide Litigation, 552 F.3d 305, 316
                            v.
                                                                       n.15 (3d Cir. 2008) (Scirica, C.J.) (quoting Szabo v.
    Stacy PARKS-MILLER, individually and in her                        Bridgeport Machines, Inc., 249 F.3d 672, 675 (7th Cir.
   official capacity, and Centre County, Defendants.                   2001) (Easterbrook, J.)). Neitzke v. Williams, 490 U.S.
                                                                       319, 326–27 (1989).
                       4:16-CV-1575
                                                                2      Neitzke, 490 U.S. at 326 (citing Hishon v. King &
                             |
                     Filed 05/04/2017                                  Spalding, 467 U. S. 69, 73 (1984)).
                                                                3      Neitzke, 490 U.S. at 327.
Attorneys and Law Firms
                                                                Beginning in 2007, the Supreme Court of the United
Kathleen V. Yurchak, Goodall & Yurchak, P.C., State             States initiated what some scholars have termed the
College, PA, for Plaintiff.                                     Roberts Court’s “civil procedure revival” by significantly
                                                                tightening the standard that district courts must apply
Bruce L. Castor, Jr., Lance Rogers, Rogers Castor,
Ardmore, PA, Mary Lou Maierhofer, Margolis Edelstein,           to 12(b)(6) motions. 4 In two landmark decisions, Bell
Hollidaysburg, PA, for Defendants.                              Atlantic Corporation v. Twombly and Ashcroft v. Iqbal,
                                                                the Roberts Court “changed ... the pleading landscape”
                                                                by “signal[ing] to lower-court judges that the stricter
                                                                approach some had been taking was appropriate under
              MEMORANDUM OPINION
                                                                the Federal Rules.” 5 More specifically, the Court in these
Matthew W. Brann, United States District Judge                  two decisions “retired” the lenient “no-set-of-facts test”
                                                                set forth in Conley v. Gibson and replaced it with a more
I. BACKGROUND
                                                                exacting “plausibility” standard. 6
 *1 On July 29, 2016, Plaintiff, Michelle Shutt, filed
a six-count complaint against her former employers,
                                                                4      Howard M. Wasserman, THE ROBERTS COURT
Centre County, and its District Attorney, Stacy Parks-
Miller. Each Defendant has filed a motion to dismiss the               AND THE CIVIL PROCEDURE REVIVAL, 31
complaint. Both motions will be granted as to the claims               Rev. Litig. 313 (2012).
brought pursuant to 42 U.S.C. § 1983, namely Counts I           5      550 U.S. 544 (2007); 556 U.S. 662, 678 (2009),
and II. I decline to exercise supplemental jurisdiction over           Wasserman, supra at 319-20.
Counts III-IV. The complaint will therefore be dismissed
                                                                6      Iqbal, 556 U.S. at 670 (citing Conley v. Gibson, 355
without prejudice so that the Plaintiff may re-file her state
law causes of action in the appropriate Court of Common                U.S. 41 (1957)) (“[a]cknowledging that Twombly
Pleas, should she choose to do so.                                     retired the Conley no-set-of-facts test”).
                                                                Accordingly, after Twombly and Iqbal, “[t]o survive a
                                                                motion to dismiss, a complaint must contain sufficient
II. DISCUSSION                                                  factual matter, accepted as true, to ‘state a claim
   A. Standard of Review                                        to relief that is plausible on its face.’ ” 7 “A claim
Under Federal Rule of Civil Procedure 12(b)(6), a               has facial plausibility when the plaintiff pleads factual
defendant may file a motion to dismiss for “failure to          content that allows the court to draw the reasonable
state a claim upon which relief can be granted.” Such           inference that the defendant is liable for the misconduct
a motion “tests the legal sufficiency of a pleading”            alleged.” 8 “Although the plausibility standard does not
and “streamlines litigation by dispensing with needless         impose a probability requirement, it does require a
discovery and factfinding.” 1 “Rule 12(b)(6) authorizes a       pleading to show more than a sheer possibility that a


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defendant has acted unlawfully.” 9 Moreover, “[a]sking            As a matter of procedure, the United States Court of
for plausible grounds ... calls for enough facts to raise a       Appeals for the Third Circuit has instructed that:
reasonable expectation that discovery will reveal evidence
of [wrongdoing].” 10
                                                                              Under     the     pleading     regime
7      Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at                   established by Twombly and Iqbal,
       570).                                                                  a court reviewing the sufficiency of
8                                                                             a complaint must take three steps.
       Iqbal, 556 U.S. at 678.
                                                                              First, it must tak[e] note of the
9      Connelly v. Lane Const. Corp., No. 14-3792, 2016                       elements [the] plaintiff must plead
       WL 106159, at *3 (3d Cir. Jan. 11, 2016) (Jordan, J.)                  to state a claim. Second, it should
       (internal quotations and citations omitted).                           identify allegations that, because
10                                                                            they are no more than conclusions,
       Twombly, 550 U.S. at 556.
                                                                              are not entitled to the assumption of
 *2 The plausibility determination is “a context-specific                     truth. Finally, [w]hen there are well-
task that requires the reviewing court to draw on its                         pleaded factual allegations, [the]
judicial experience and common sense.” 11 No matter the                       court should assume their veracity
context, however, “[w]here a complaint pleads facts that                      and then determine whether they
are ‘merely consistent with’ a defendant’s liability, it ‘stops               plausibly give rise to an entitlement
short of the line between possibility and plausibility of                     to relief. 17
entitlement to relief.’ ” 12

11     Iqbal, 556 U.S. at 679.                                    17     Connelly, 2016 WL 106159, at *4 (internal quotations
12     Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at              and citations omitted).
       557 (internal quotations omitted)).                        I turn now to the Plaintiff’s factual allegations, which I
When disposing of a motion to dismiss, a court must               must accept as true on a Rule 12(b)(6) motion.
“accept as true all factual allegations in the complaint and
draw all inferences from the facts alleged in the light most
                                                                    B. Facts alleged in the complaint
favorable to [the plaintiff].” 13 However, “the tenet that a
                                                                  Defendant Stacy Parks-Miller, hereinafter “Parks-
court must accept as true all of the allegations contained
                                                                  Miller,” has been District Attorney of Defendant Centre
in the complaint is inapplicable to legal conclusions.” 14        County since January 1, 2010. Plaintiff Michelle Shutt,
“After Iqbal, it is clear that conclusory or ‘bare-bones’         hereinafter “Shutt,” began employment as Parks-Miller’s
allegations will no longer survive a motion to dismiss.” 15       paralegal on June 5, 2012 and resigned for her position on
“Threadbare recitals of the elements of a cause of                January 6, 2014.
action, supported by mere conclusory statements, do not
suffice.” 16                                                      In October 2014, Shutt began working as a paralegal
                                                                  for the Masorti Law Group. On December 29, 2014,
13                                                                she told her new employer, attorney Philip Masorti, that
       Phillips v. Cnty. of Allegheny, 515 F.3d 224, 228 (3d
                                                                  while employed by Parks-Miller she witnessed Parks-
       Cir. 2008) (Nygaard, J.).
                                                                  Miller forge a common pleas judge’s signature on a bail
14     Iqbal, 556 U.S. at 678 (internal citations omitted).       order. Shutt then prepared an affidavit to that effect
                                                                  that was provided to the Bellefonte Borough Police
15     Fowler v. UPMC Shadyside, 578 F.3d 203, 210 (3d            Department, the FBI, and the Pennsylvania Supreme
       Cir. 2009) (Nygaard, J.).
                                                                  Court’s Disciplinary Board. Attached to the affidavit
16     Iqbal, 556 U.S. at 678.                                    were emails sent by Parks-Miller to Shutt that Shutt had
                                                                  forwarded from her county email account to her private



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email account prior to her resignation from the District          decision I deeply regret and while I'm tough and I can
Attorney’s Office.                                                overlook things, I'm a real person. I have a family. She
                                                                  owes an apology to my grandmother and mother who
According to the complaint, when Parks-Miller learned of          wondered for the past seven months how someone who
the affidavit, she began to investigate Shutt for “theft of       can lie publically and get away with it.
emails.” On January 20, 2015, the affidavit became public
knowledge at a Centre County Commissioner’s meeting               This report is crystal clear. Ms. Shutt committed at
when various attorneys brought it to the Commissioners            least three crimes, a false report to police, a false
attention for investigation. On January 24, 2015, the             report by writing it out and signing the affidavit and
Bellefonte Borough Police Department executed a search            clearly committed felony perjury by testifying in front
warrant on Parks-Miller’s office.                                 of the grand jury to these bold faced lies. I demand
                                                                  full criminal responsibility for this behavior. A district
 *3 The investigation was later taken over by the                 attorney is every bit as much a victim as anyone else.
Pennsylvania Attorney General’s Office and submitted              I demand that Shutt and anyone else who assisted,
to a grand jury for investigation. Shutt was subpoenaed           encouraged and supported her lies over all these months
and testified that she had been directed by Parks-Miller          be investigated and prosecuted. This includes the Centre
to prepare a fake bail order; that she witnessed Parks-           County Commissioners, their solicitor, Lou Glantz,
Miller forge the judge’s signature; and that she was              who the report unequivocally said operated outside the
further directed by Parks-Miller to have the forged order         bounds of the law, their authority.
docketed by the Centre County Prothonotary’s Office.
                                                                  The commissioners balance budgets. They have been
                                                                  on a witch hunt for me. They tried to play police
On July 31, 2015, the state Attorney General’s Office
                                                                  officer, investigator and they been trying to shatter my
released a report indicating that a grand jury investigation
                                                                  reputation with lies for months. The grand jury found
found no criminal activity on the part of Parks-
                                                                  specifically that I acted in accordance with the law
Miller. Consequently, the state Attorney General’s Office
                                                                  while the commissioners inappropriately engaged the
declined to move forward with any criminal investigation
                                                                  services of special counsel contrary to law. This was
against Parks-Miller.
                                                                  after my attorney specifically warned them of this legal
                                                                  point and they ignored it. The impartial grand jury
That same date, Parks-Miller convened a press conference
                                                                  found as a fact that the commissioners disregarded clear
in front of the Centre County Courthouse. The
                                                                  statutory requirements in their action and they hired a
transcription of her statements (at length) is as follows:
                                                                  special counsel spending and squandering tax payers'
  Well—thanks for coming. All right—it’s been a long              dollars contrary to law. They have made defamatory
  seven months but one of my favorite sayings is a lie            statements about me for seven months straight based
  can travel halfway around the world while the truth is          upon lie after lie. This is men whose job it is to manage
  still putting on its shoes. I am a true believer in justice     fiscal affairs of the government—period. Do you realize
  and the criminal justice system but the truth has finally       the magnitude of what the commissioners have done for
  been revealed. I told everyone at the beginning that I          the county by this witch hunt in the past seven months?
  am innocent and a grand jury full of strangers today            They have been trying with a handful of other people
  says I was telling the truth. I do thank the grand jury         to convince this county and my supporters that the
  for their hard work but I also believe in accountability        district attorney and law enforcement in Centre County
  and sometimes that’s a dying art. The simple truth in           is corrupt with their lies and recently they've besmirched
  this case is that Michelle Shutt is a liar.                     our judges. They are trying to convince the community
                                                                  that you shouldn't trust what’s going on down here in
  Ms. Shutt came into my office looking for a job                 Bellefonte, something’s amiss.
  after she was let go from a previous job because she
  cheated her employer. She was let go for under-ringing           *4 And why? It all started when I beat Bernard
  merchandise. She lied on that job application and when          Cantorna in a trial, in a case where a woman almost
  I caught that lie, she begged me to overlook it. I did,         killed a child. He simply didn't take it well. He had
  wanting to give people a second chance and that is a            a relationship with her. And he is business partners



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  with Lou Glantz, the county solicitor. They decided           he learned how they were operating under the right
  to pay me back. They looked for a way to darken my            to know law and breaking it? He said they broke the
  character. I'm too hard on crime apparently. With the         law, violated the constitution and violated my privacy.
  lying and conniving Michelle Shutt, who by the way the        Sworn elected official in active office have violated the
  commissioners did not believe when she first tried to say     law. Where is that headline? He said their behavior
  I had her do campaign work They teamed up with her-           was unconscionable. They gave out my private phone
  Sean McGraw, Bernie Cantorna and Phil Masoriti—to             number knowing it was protected under the law. I
  stage this silly lie that has almost unglued our county       received threats from people I prosecuted. One man
  over the last seven months. They lied at a meeting that       whose brother I prosecuted threatened to pay me back
  started it all. We need to investigate her. We need to        with sexual violence. Where is that headline?
  involve the Bellefonte police. They knew it had been
  reported to the Attorney General and they used every          So what’s going on down here at Willowbank? Criminal
  commissioner’s meeting since then as a bullypulpit to         behavior by Michelle Shutt and others. That’s what.
  defame me. Some of you bought it and printed it. I hope       I've beaten them at every tum. I won every frivolous
  you now print my innocence with the same ferocity you         motion filed by Sean McGraw who has ulterior motives
  printed their lies.                                           to try to bolster Michelle Shutt. I won my civil lawsuit
                                                                handily against the commissioners who were deemed
  The commissioners invaded the district attorney’s files       law breakers by a judge who said their behavior was
  and emails and phone records which is patently illegal.       unconscionable and now I have been proven innocent of
  They endangered and squandered resources and they             signing the judge’s name. Each time the commissioners
  actually looked at ongoing investigations. These men          act more outrageous, they double down and destroy our
  who are only here to balance budgets and we had to            county’s faith and reputation across the state.
  sue them to stop it. Once I caught them, they said they
  wouldn't do it again. I had to sue them along with the        But I tell Centre County citizens this—I will not be
  judges to stop them from looking in files and actually        bullied by Centre County commissioners or people who
  compromising ongoing investigations and threatening           seek to destroy my reputation with lies. I will remain
  police officers' safety.                                      your independent prosecutor. I will be the prosecutor
                                                                you can trust. I will not be told who to prosecute and
  Guess who the commissioners gave my records to? Sean          I will not be bullied by any club or clique. I will not be
  McGraw and Bernie Cantorna, ignoring requests from            influenced or beholden to anyone. I will do what is right
  other defense attorneys but favoring them. We have            based upon the facts and I don't engage in cronyism
  shown you these connections but the press has failed          or let politics enter the DA’s office. It’s not going to
  to print it. The same exact people who accused me of          happen. I made promises to this community and they
  forgering.                                                    will not beat me down with lies. I respect the law and
                                                                the constitution and I demand that everyone that was
  Sean McGraw is Michelle Shutt’s lawyer. He called her         involved in this corruption be prosecuted in this matter
  a whistle blower in the beginning perhaps hoping for          and I will fight against corruption as your DA.
  a big lawsuit. Her firm said she was brave for telling
  the truth. Nothing can be further from the truth. She is       *5 This stops here and now and I will not stop until
  a felon. They pretend, the commissioners pretend they         the right people are held accountable and I do urge the
  are champions of open records, that is a smoke screen         public to make smart decisions this Fall and vote those
  because we caught them breaking the law.                      bums out or we will never return to normal down at this
                                                                courthouse. A system cannot survive with unscrupulous
  The lawsuit was only to keep them out of my records           people attacking other arms of government for petty
  and to point people to me when they had an open               and personal motives. They are tearing us apart down
  records request. I handled open records requests during       here and frittering away untold amounts of money for
  the Sandusky matter. I think I know how to operate            no good reasons other than personal agendas. People
  within the bounds of the law. They have been selling          have a voice and come fall and you must use it. And I
  you a smokescreen and you have been buying it. What           thank the grand jury for what they have done.
  did Judge Kurtz say about the commissioners when



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Several news sources picked up and re-published Parks-           Amendment right to free speech includes not only the
Miller’s statements in various news articles. Several            affirmative right to speak, but also the right to be free
were, naturally, online sources, namely youtube.com,             from retaliation by a public official for the exercise of that
statecollege.com and philly.com. The other was the Centre        right.” 21 “Because government retaliation tends to chill
Daily Times, a print newspaper, and principal newspaper          an individual’s exercise of his First Amendment rights,
of record in Centre County.                                      public officials may not, as a general rule, respond to an
                                                                 individual’s protected activity with conduct or speech even
Parks-Miller filed a civil suit against Shutt and others,        though that conduct or speech would otherwise be a lawful
which was removed to this Court on September 9, 2015. I
                                                                 exercise of public authority.” 22
dismissed that action in its entirety. As to Shutt, the Parks-
Miller action was dismissed as all the claims agianst her
                                                                 21     Suarez Corp. Indus. v. McGraw, 202 F.3d 676,
were based on her grand jury testimony, which I held to
be immune from suit.                                                    685 (4th Cir. 2000), See ACLU v. Wicomico
                                                                        County, Md., 999 F.2d 780, 785 (4th Cir. 1993)
                                                                        (“Retaliation, though it is not expressly referred to
Shutt now alleges that due to Parks-Miller’s actions, and
                                                                        in the Constitution, is nonetheless actionable because
statements, Shutt’s “opportunities for employment in the
                                                                        retaliatory actions may tend to chill individuals'
legal field have been eliminated, as have her prospects for             exercise of constitutional rights.”); see also Pickering
comparable employment.” Her complaint against Parks-                    v. Board of Educ., 391 U.S. 563, 574, 20 L.Ed. 2d 811,
Miller sets forth her defamation theory.                                88 S. Ct. 1731 (1968) (noting that retaliatory acts are
                                                                        “a potent means of inhibiting speech”).

  C. Count I: 42 U.S.C. § 1983 Retaliation for Exercise          22     Balt. Sun Co. v. Ehrlich, 437 F.3d 410, 415-416 (4th
  of Activity Protected by the First/Fourteenth                         Cir. 2006), citing Bd. of County Comm'rs v. Umbehr,
  Amendment Rights (Against All Defendants)                             518 U.S. 668, 674, 116 S. Ct. 2342, 135 L.Ed. 2d 843
In order for a plaintiff to prevail under 42 U.S.C. § 1983,             (1996); Suarez Corp. Indus. v. McGraw, 202 F.3d 676,
he must establish two elements: first, that the conduct                 685 (4th Cir. 2000); see also Perry v. Sindermann, 408
                                                                        U.S. 593, 597, 92 S. Ct. 2694, 33 L.Ed. 2d 570 (1972)
complained of was committed by a person acting under
                                                                        (“If the government could deny a benefit to a person
color of state law; and second, that the conduct deprived
                                                                        because of his constitutionally protected speech or
the plaintiff of rights, privileges, or immunities secured by
                                                                        associations, his exercise of those freedoms would in
the Constitution or laws of the United States. 18                       effect be penalized and inhibited”).
                                                                  *6 “Thus, by engaging in retaliatory acts, public
18     See Kost v. Kozakiewicz, 1 F.3d 176, 184 (3d Cir.         officials place informal restraints on speech “allowing
       1993).                                                    the government to ‘produce a result which [it] could
“In general, constitutional retaliation claims are analyzed      not command directly.’ ” 23 “Such interference with
under a three-part test.” 19 “ Plaintiff must prove (1) that     constitutional rights is impermissible.” 24 “[A] public
[it] engaged in constitutionally-protected activity; (2) that    official’s malicious intent, taken alone, cannot amount to
the government responded with retaliation; and (3) that
                                                                 a retaliatory response.” 25
                                                  20
the protected activity caused the retaliation.”
                                                                 23     Suarez Corp. Indus., 202 F.3d at 685
19     Mun. Revenue Servs., Inc. v. McBlain, 347 Fed.
                                                                 24     Id. citing Perry v. Sindermann, 408 U.S. 593, 597, 33
       Appx. 817, 823 (3d Cir. Pa. 2009) (internal citations
       omitted).                                                        L.Ed. 2d 570, 92 S. Ct. 2694 (1972) (alterations in
                                                                        original) (citation omitted).
20     Id.
                                                                 25     Balt. Sun Co., 437 F.3d at 420.
In this matter, Shutt is alleging a First Amendment
retaliation claim as incorporated by the Fourteenth              “A retaliation claim under 42 U.S.C. § 1983 must
Amendment. The First Amendment to the United States              establish that the government responded to the plaintiff’s
Constitution protects citizens right to speech. “The First       constitutionally protected activity with conduct or speech
                                                                 that would chill or adversely affect his protected


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activity.” 26 “The determination of whether government           allegedly defamatory statements alone are insufficient to
conduct or speech has a chilling effect or an adverse            deter a person of ordinary firmness from future speech. 34
impact is an objective one—we determine whether a
similarly situated person of ‘ordinary firmness’ reasonably      33     Id.
would be chilled by the government conduct in light of
                                                                 34     See, e.g., Zutz v. Nelson, 601 F.3d 842, 849 (8th Cir.
the circumstances presented in the particular case.” 27
                                                                        2010); Mezibov v. Allen, 411 F.3d 712, 722 (6th Cir.
“Because our analysis of the adverse impact is objective,
                                                                        2005).
it can be resolved as a matter of law.” 28
                                                                  *7 Although I have determined that Shutt does not have
                                                                 a Constitutional claim based on the statements made by
26     Balt. Sun Co., 437 F.3d at 416, citing Constantine v.     Parks-Miller at the July 31, 2015 press conference, she may
       Rectors and Visitors of George Mason Univ., 411 F.3d      nevertheless have a state tort cause of action, to which the
       474, 499 (4th Cir. 2005); ACLU v. Wicomico County,
                                                                 undersigned expresses no opinion.
       999 F.2d 780, 785 (4th Cir. 1993).
27     Balt. Sun Co., 437 F.3d at 416, citing Constantine, 411
       F.3d at 500; Wicomico County, 999 F.2d at 786; see           D. Count II: Violation of 42 U.S.C. § 1983 False
       also Thaddeus-X v. Blatter, 175 F.3d 378, 398 (6th Cir.      Public Statements (Against All Defendants)
       1999) (tailoring adverse impact analysis to specific      The allegations set forth in Count II have confused both
       circumstances presented).                                 the parties and the Court, as there is no “false public
                                                                 statements” cause of action under federal law. The Court
28     Balt. Sun Co., 437 F.3d at 416.                           initially surmised that Shutt was attempting to federalize
In the case at bar, I conclude that there is no retaliation      defamation, but this does not appear to be the case. In her
as a matter of law as the Defendants did not engage in           brief opposing each Defendants' motion to dismiss, she
conduct that would chill a person of ordinary firmness. In       explained that she is not, in fact, bringing a defamation
“retaliation cases involving ‘speech against speech’ there       claim under Section 1983. Shutt further clarified in her
should be a ‘threshold of measurable harm required to            brief opposing Parks-Miller’s motion that Count II is
move government response to public complaint from the            a “fourteenth amendment violation” of “her ability to
forum of free speech into federal court.’ ” 29 A “state-         pursue her chosen career and profession” and that “as she
law theory of per se defamation does not sufficiently            included damages to her occupation, Shutt has adequately
demonstrate harm and therefore does not establish a              pled a violation of their [sic] Fourteenth Amendment due

federal retaliation claim.” 30 The “alleged retaliation did      process rights.” 35 I respectfully disagree.
not come in the form of denial of a permit or threat of a
                                                                 35
lost contract.” 31 “Rather, it was a group of statements                ECF No. 22 at 38.

none very kind about” Shutt. 32                                  Shutt has not, nor can she, adequately plead a due process
                                                                 claim. The Fourteenth Amendment is not “a font of
29                                                               tort law to be superimposed upon whatever systems may
       Zaloga v. Borough of Moosic, 841 F.3d 170, 177 (3d
       Cir. 2016) citing Zherka v. Amicone, 634 F.3d 642, 646    already be administered by the States.” 36 “Reputation
       (2d Cir. 2011).                                           alone is not an interest protected by the Due Process
30                                                               Clause.” 37 Moreover, defamatory statements that curtail
       Zherka v. Amicone, 634 F.3d 642, 643 (2d Cir. 2011).
                                                                 a plaintiff’s business opportunities do not suffice to
31     Id. at 646.                                               support a substantive due process claim. 38
32     Id.
                                                                 36     Paul v. Davis, 424 U.S. 693, 701, 96 S.Ct. 1155, 47
“Retaliatory insults or accusations may wound one’s soul,
                                                                        L.Ed.2d 405 (1976) (holding that defamation by itself
but by themselves they fail to cross the threshold of
                                                                        does not harm a liberty interest protected under the
measurable harm required to move government response
                                                                        Fourteenth Amendment).
to public complaint from the forum of free speech into
federal court.” 33 Moreover, other circuits have held that


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37     Dee v. Borough of Dunmore, 549 F.3d 225 (3d Cir.         the plus prong, a generalized “possible loss of future
       2008) (internal citations omitted).                      employment opportunities,” and “financial harm” are
                                                                insufficient to support a reputation-based due process
38     See Boyanowski v. Capital Area Intermediate Unit,        claim. Simpson v. Nicklas, 500 Fed.Appx. 185, 188 (3d
       215 F.3d 396, 399-404 (3d Cir. 2000)                     Cir. 2012) (citing Clark, 890 F.2d at 620, and Sturm
In order “to make out a due process claim for deprivation       v. Clark, 835 F.2d 1009, 1013 (3d Cir. 1987)); Thomas,
of a liberty interest in reputation, a plaintiff must show      463 F.3d at 297; Hill, 455 F.3d at 232-33; see Arneault
a stigma to his reputation plus deprivation of some             v. O'Toole, 513 Fed.Appx. 195, 198-99 (3d Cir. 2013)
additional right or interest ... guaranteed by state law or     (loss of possible business prospects by being required to
the Constitution.” 39 “In the public employment context,        disclose an unfavorable fact on future applications does
the “stigma-plus” test has been applied to mean that            not satisfy the plus prong). 43
when an employer ‘creates and disseminates a false and
defamatory impression about the employee in connection        42     Id. at 238.
with his termination,’ it deprives the employee of a
                                                              43     Kahan v. Slippery Rock Univ. of Pennsylvania, 50
protected liberty interest.” 40 “To satisfy the ‘stigma’
                                                                     F. Supp. 3d 667, 711 (W.D. Pa. 2014), aff'd, 664
prong of the test, it must be alleged that the purportedly
                                                                     Fed.Appx. 170 (3d Cir. 2016)
stigmatizing statements (1) were made publicly, and (2)
                                                              The “plus” element of the “stigma-plus” test is what is
were false.” 41 Here, Shutt has alleged that Parks-Miller
                                                              lacking in the present action. First, Shutt voluntarily left
made false stigmatizing statements at the July 31, 2015
                                                              her employment with Parks-Miller and Centre County
press conference.
                                                              well before the July 2015 press conference. Second, she
                                                              has not alleged deprivation of another Constitutionally
39     Id.                                                    guaranteed right. Her generalized allegations regarding
40     Hill v. Borough of Kutztown, 455 F.3d 225, 236 (3d
                                                              her inability to pursue her paralegal career are insufficient.
       Cir. 2006) citing Codd v. Velger, 429 U.S. 625, 628
       (1977).                                                This absent element in the “stigma-plus” test signals to
                                                              this Court that this is merely a garden variety state
41     Hill, 455 F.3d at 225 (internal citations omitted).    law defamation claim as opposed to a more nuanced
The “plus” of the “stigma-plus” test can be termination       Fourteenth Amendment violation. Accordingly, Shutt’s
or constructive discharge, without respect to whether         substantive due process claim for any reputational injury
the employee has a property interest in the lost job. 42      that decreased her ability to earn a living compels
The Honorable Joy Flowers Conti, writing for the              dismissal.
United States District Court for the Western District of
Pennsylvania, has succinctly explained when something
                                                              III. CONCLUSION
other than the loss of government employment constitutes
                                                              Having concluded that there are no federal causes of
the necessary “plus” to maintain an action under the
                                                              action, and no basis upon which to permit amendment,
Fourteenth Amendment, as follows:
                                                              as amendment would be futile, 44 I decline to exercise
   *8 The plus prong is typically termination of              supplemental jurisdiction over the state law claims and
  employment, but reputational damage that occurs “in         will dismiss the action in its entirety. Dismissal will be
  the course of or is accompanied by a change or              without prejudice as to the state law claims.
  extinguishment of a right or status guaranteed by state
  law or the Constitution” is actionable.D & D Assoc.,        44     “Futility” means that the complaint even if amended,
  Inc. v. Bd. of Educ. of N. Plainfield, 552 Fed.Appx. 110,          would still fail to state a claim upon which relief could
  113 (3d Cir. 2014) (citing Clark v. Twp. of Falls, 890             be granted. See In re Burlington Coat Factory Sec.
  F.2d 611, 619 (3d Cir. 1989)); Lockett, 529 Fed.Appx. at           Litig., 114 F.3d 1410, 1434 (3d Cir. 1997).
  296; Brown, 470 Fed.Appx. at 91. Although deprivation       An appropriate Order follows.
  of the “liberty to pursue a calling or occupation” or to
  “earn a living” have been deemed sufficient to satisfy



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